                           NUMBER 13-16-00068-CV

                              COURT OF APPEALS

                    THIRTEENTH DISTRICT OF TEXAS

                       CORPUS CHRISTI - EDINBURG
____________________________________________________________

              IN THE INTEREST OF C.M.R., A CHILD
____________________________________________________________

          On appeal from the County Court at Law No. 5
                   of Nueces County, Texas.
____________________________________________________________

                           MEMORANDUM OPINION

  Before Chief Justice Valdez and Justices Rodriguez and Benavides
                  Memorandum Opinion Per Curiam

       Appellant, father of C.M.R, perfected an appeal from a judgment concerning the

conservatorship of C.M.R. On July 26, 2016, the Clerk of this Court notified appellant

that the clerk’s record in the above cause was originally due on July 25, 2016 and that

the deputy district clerk, Maria Flores, had notified this Court that appellant failed to make

arrangements for payment of the clerk’s record. The Clerk of this Court notified appellant

of this defect so that steps could be taken to correct the defect, if it could be done. See

Tex. R. App. P. 37.3, 42.3(b),(c). Appellant was advised that, if the defect was not
corrected within ten days from the date of receipt of this notice, the appeal would be

dismissed for want of prosecution.

      Appellant has failed to respond to this Court’s notice. Accordingly, the appeal is

DISMISSED FOR WANT OF PROSECUTION. See TEX. R. APP. P. 42.3(b), (c).

                                                      PER CURIAM

Delivered and filed this
2nd day of September, 2016.




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